Case 2:24-cv-00165-TOR   ECF No. 14-2   filed 06/27/24   PageID.264 Page 1 of 6




                 EXHIBIT 1
                                                                                                      8
  Case 2:24-cv-00165-TOR         ECF No. 14-2      filed 06/27/24    PageID.265 Page 2 of 6



       Spokane County Sheriff's Office
       June 19 at 10:32 AM ·

Sharing Information from the U.S. Marshals Pacific Northwest Violent Offender Task Force
(PNVOTF) assisted the Spokane County Sheriff's Office, Sexual Assault Unit (SAU) in arresting a
suspect charged with several felony child sexual assault/abuse charges.
###
𝐀𝐜𝐜𝐮𝐬𝐞𝐝 𝐂𝐡𝐢𝐥𝐝 𝐑𝐚𝐩𝐢𝐬𝐭, 𝐚𝐫𝐫𝐞𝐬𝐭𝐞𝐝 𝐢𝐧 𝐒𝐩𝐨𝐤𝐚𝐧𝐞, 𝐖𝐚𝐬𝐡𝐢𝐧𝐠𝐭𝐨𝐧.
𝐒𝐩𝐨𝐤𝐚𝐧𝐞, 𝐖𝐀.– On June 18th, 2024, at approximately 12:00 PM, 38-year-old Jamell CLOGG was
arrested at his residence in the 2300 block of E. 1st Avenue, Spokane, Washington, by the
Spokane County Sheriff's Office, Sexual Assault Unit (SAU) and the U.S. Marshals Pacific Northwest
Violent Offender Task Force (PNVOTF).
Clogg is accused of raping a 13-year-old girl. He is charged with two counts of Rape of a Child in
the Second Degree, two counts of Child Molestation in the Second Degree, Possession of
Depictions of a Minor Engaged in Sexually Explicit Conduct in the Second Degree, and Indecent
Exposure. The U. S. Marshals PNVOTF developed intelligence that CLOGG was hiding inside the
residence and arrested him without incident.
Eastern District of Washington U.S. Marshal Craig Thayer commented, "The partnerships that the
United States Marshals Service has with our counterparts in state, local, federal, and tribal law
enforcement make possible the excellent results, that are exemplified with this case. Perseverance
is often the key to bringing fugitives into custody to answer for the crimes alleged in their
warrants."
The U.S. Marshals Pacific Northwest Violent Offender Task Force (PNVOTF) is a U.S. Marshals-led
partnership comprised of federal, state, and local law enforcement officers from Washington,
Oregon, and Alaska. The task force’s primary mission is to locate, arrest and return to the justice
system the most violent and egregious federal and state fugitives. US Marshals arrest over 80,000
violent offenders annually.
Additional information about the U.S. Marshals Service can be found at
https://www.usmarshals.gov
####
America’s First Federal Law Enforcement Agency
www.usmarshals.gov




                                                               EXHIBIT 1 TO ROTHMAN DEC. PG. 1
                                                                                               8
  Case 2:24-cv-00165-TOR        ECF No. 14-2     filed 06/27/24   PageID.266 Page 3 of 6




     148                                                              39 comments 16 shares

                  Like                      Comment                           Share

All comments﻿

      Comment as Mika Kurose Rothman

      Sandy Shattuck
      and he most likely found his victims on social networks.
      5d   Like    Reply   4
                                                             EXHIBIT 1 TO ROTHMAN DEC. PG. 2
                                                                                               8
Case 2:24-cv-00165-TOR             ECF No. 14-2   filed 06/27/24   PageID.267 Page 4 of 6


   Ra Kinney
   Outstanding apprehension!
   Too bad these aren't federal charges, but at least he is off the street, for now.
   5d   Like    Reply     Edited

   Barbara Veit
   Thank you Spokane County Sheriff's Office and US Marshal's
   5d   Like    Reply     3

   Elizabeth Lochte
   Show his face.
   5d   Like    Reply

   David Parson
   Just another one that will be free soon
   3d   Like    Reply

   Shad Bolen
   he wont last in prison when they find out what he's in for
   5d   Like    Reply     4

  View all 3 replies

   Sarah Jayne Jeffries
   Sick!! Great job detectives!!
   4d   Like    Reply

   Linda Wagner
   Good job. Get them all
   5d   Like    Reply     2

   L. M. Malcolm
   Good!

   4d   Like    Reply

   Cynthia Bailey
   Thank you all! You are appreciated.
   5d   Like    Reply

   Colleen Mahoney Simpson
   Thank you SC Sheriff's office
   5d   Like    Reply     Edited   3

   Jean Brons Sutton
   Thanks to our law enforcement
   5d   Like    Reply

   Rob Schoenberger
   Great job officers
                                                             EXHIBIT 1 TO ROTHMAN DEC. PG. 3
   5d   Like    Reply
                                                                                               8
Case 2:24-cv-00165-TOR           ECF No. 14-2   filed 06/27/24    PageID.268 Page 5 of 6


   Cindy Palmer
   Thank you
   5d   Like    Reply

   Alexa Jean
   Great job! Lets just hope the courts don't fail that child, like they keep doing for
   crimes like this.
   5d   Like    Reply

   Libby Smith
   Spokane County Sheriff's Office Very curious why you guys are reporting on the
   arrest of this one, but don’t report on others?
   5d   Like    Reply   Edited

   Barbara Potter
   Good Job
   5d   Like    Reply

   Sarah Chilton
   AMEN
   5d   Like    Reply

   Alex Price
   Laura Price
   5d   Like    Reply

   Mike Hidy
   What a scumbag!
   4d   Like    Reply

   John Donohue
   It’s a shame he didn’t resist arrest and have to be “put down”
   5d   Like    Reply                                       13

  View 1 reply

   James Blome
   He'll just be sent to McNeil Island, where he can reminisc of his exploits with other
   horrible people, and learn of new ways to make/send/ receive disgusting content.
   He can lounge in the library, reading law books to learn how to file all kinds of fri…
   See more
   5d   Like    Reply

   Carla Coffield Bischoff
   Great job!
   Now we need a President to close the border, have stricter laws and build another
   jail so we can lock these losers up and throw away the keys!!
   We shouldn’t have this many violent offenders roaming the streets.
   4d   Like    Reply

   Penney Wainscott Tee                                      EXHIBIT 1 TO ROTHMAN DEC. PG. 4
   No bail for this monster please.
                                                                                          8
Case5d2:24-cv-00165-TOR
         Like Reply
                           ECF No. 14-2     filed 06/27/24   PageID.269 Page 6 of 6
   View all 2 replies

   Ron Kelly
   Tree/rope=no chance of re-offending.
   5d   Like   Reply

   John Barlow
   Put him in prison and KEEP HIM THERE! Unlike the dozens of other repeat felony
   offenders that get out in days to continue
   4d   Like   Reply




                                                        EXHIBIT 1 TO ROTHMAN DEC. PG. 5
